         Case 4:19-cr-00572-KGB Document 150 Filed 11/07/19 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                Case No. 4:19-cr-00572 KGB

CLIFTON LOUIS WILLIAMS, et al.                                                     DEFENDANT

                                            ORDER

       Pending before the Court are defendants Kate Vanvalkenburg, Tezzera Marie Roberts, and

Zachary Clark Higgins’s motions for continuance of the November 25, 2019, trial date (Dkt. Nos.

9, 117, 137). The motions state that counsel for the government does not object to the motions.

       By prior Order, the Court directed that any response in opposition to the motions for

continuance be filed by November 5, 2019. The Court further stated in its Order that it would

assume any defendant who did not respond to the pending motions for continuance joins in the

motions for continuance and waives Speedy Trial requirements until the next scheduled trial date

(Dkt. 116). No responses to the pending motions for continuance were filed.

       The Court has fully considered the motions and finds that the interest of justice served by

granting a continuance outweighs the best interest of the public and defendants for a speedy trial

in that the issues herein are such that to deny the motions would deny counsel for the defendants

the reasonable time necessary for effective preparation for trial and to develop any and all proper

defenses which might be averred on the defendants’ behalf.

       The Court finds that no severance has been granted on behalf of any defendant in this

matter. Since the defendants are jointly indicted on similar evidence from the same event,

defendants’ trial should be conducted on the same date.
         Case 4:19-cr-00572-KGB Document 150 Filed 11/07/19 Page 2 of 2



        It is therefore ordered that the motions for continuance be, and they are hereby, granted

(Dkt. Nos. 9, 117, 137). Therefore, as to all defendants herein, this matter is rescheduled for jury

trial to begin at 9:30 a.m. the week of Monday, August 17, 2020, in Little Rock, Arkansas.

Counsel are to be present 30 minutes prior to trial and are directed to submit jury instructions

electronically to the Court at kgbchambers@ared.uscourts.gov on or before August 3, 2020.

        Defense counsel should confer with the government and counsel for co-defendants to

determine any Bruton problems, see Bruton v. United States, 391 U.S. 123 (1968), no later than

60 days prior to the trial date.

        It is further ordered that the delay occasioned by this continuance shall be excludable under

the provisions of the Speedy Trial Act, specifically 18 U.S.C. § 3161(h)(7)(A) as to Kate

Vanvalkenburg, Tezzera Marie Roberts, and Zachary Clark Higgins and 18 U.S.C. § 3161(h)(6)

as to defendants Clifton Louis Williams, Brandon Danner, Cody Alexander Capps, Gabriel

Vincent Ellington, Christopher Faucette, Garrett Joseph Hardin, Jaclyn Brooks Harris, Malcolm

Xavier Medley, Lenn Nelson, Jake William Peterson, Austin Taylor Phillips, Donald Dean

Thomas, II, Jessica Angel Vail, Allison Paige Weir, Jonte Marie Williams, Rashard Allex

Williford, Andrew Wood Zuerlein, and Matthew Papez Zuerlein.

        Dated this 7th day of November 2019.


                                                      _________________________________
                                                      Kristine G. Baker
                                                      United States District Judge
